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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             :
SCOTT G. PERRY                               :
                                             :
       Plaintiff,                            :
                                             :       Case No. 22-mc-00079
               v.                            :
                                             :
UNITED STATES OF AMERICA,                    :
                                             :
       Defendant.                            :


  REQUEST TO HOLD IN ABEYANCE EMERGENCY MOTION FOR RETURN OF
         SEIZED PROPERTY PURSUANT TO FED. R. CRIM. P. 41(g)
          AND REQUEST FOR INJUNCTIVE AND OTHER RELIEF

       Plaintiff Rep. Scott G. Perry, by and through his undersigned counsel, hereby requests that

this Court enter an order temporarily holding in abeyance his Emergency Motion for Return of

Seized Property Pursuant to Fed. R. Crim. P. 41(g) and Request for Injunctive and Other Relief.

Plaintiff makes this request in light of further communications with counsel for the Government

since filing his Emergency Motion about a process to prevent the disclosure of information that is

protected by the Speech and Debate Clause, the Attorney-Client Privilege, and other applicable

privileges and protections. Granting this request will allow the parties to further discuss the

possibility of resolving the Emergency Motion by agreement. Plaintiff reserves the right to renew

his Motion should such resolution not be possible.

Dated: August 24, 2022                       Respectfully Submitted,

                                             E&W LAW, LLC

                                             _____/s/ John S. Irving___________
                                             John S. Irving (D.C. Bar No. 460068)
                                             1455 Pennsylvania Avenue, N.W., Suite 400


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                                           _____/s/ John P. Rowley III_______
                                           John P. Rowley III (D.C. Bar No. 392629)
                                           1701 Pennsylvania Ave., N.W., Suite 200
                                           Washington, D.C. 20006
                                           Telephone: (202) 525-6674
                                           Email: john.rowley@jprowleylaw.com




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of August 2022, a copy of the foregoing Motion

to Dismiss the Complaint Without Prejudice was served via the Court’s CM/ECF system on all

properly registered parties and counsel.


                                           _____/s/ John S. Irving________
                                           John S. Irving (D.C. Bar No. 460068)




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